 Case 2:20-cv-06298-JWH-E Document 116 Filed 04/21/21 Page 1 of 18 Page ID #:2835




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 8
 9
                              UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11
12   ENTTECH MEDIA GROUP LLC                  Case No. 2:20-cv-06298-JWH (Ex)
13               Plaintiff,
                                              PLAINTIFF ENTTECH MEDIA
14          v.                                GROUP LLC’S NOTICE OF
                                              MOTION AND MOTION TO
15   OKULARITY, INC., et al.                  DISMISS DEFENDANT BACKGRID
                                              USA, INC. UNDER RULE 12(B)(6)
16               Defendants.
                                              Hearing Date: May 28, 2021
17                                            Time: 9:00 a.m.
                                              Place: Courtroom 2
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                                              Hon. John W. Holcomb
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                                 PTF’S MOTION TO DISMISS BACKGRID
 Case 2:20-cv-06298-JWH-E Document 116 Filed 04/21/21 Page 2 of 18 Page ID #:2836




 1       PLEASE TAKE NOTICE that on May 28, 2021 at 9:00 a.m., or as soon
 2 thereafter as the matter may be heard before the Honorable John W. Holcomb, at a place
 3 to be determined by the Court, Plaintiff ENTTech Media Group LLC (“ENTTech” or
 4 “Paper Magazine”) will, and hereby does, move the Court for an order for dismissing the
 5 Counterclaims (Dkt. 96) of Backgrid USA, Inc. (“Backgrid”) under Rule 12(b)(6).
 6       This Motion is based upon this Notice of Motion and Motion, the accompanying
 7 Memorandum of Points and Authorities, the files, records, and pleadings in this action,
 8 and any other additional argument or evidence that may be presented at or before the
 9 hearing of this Motion.
10       Pursuant to Local Rule 7-3, this Motion is made following the conferences of
11 counsel which took place on April 14, 2021.
12
13 DATED: April 21, 2021                 TAULER SMITH LLP
14
15                                               By:   /s/ Robert Tauler
                                                       Robert Tauler
16
                                                 Attorneys for Plaintiff
17                                               ENTTech Media Group LLC
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                                PTF’S MOTION TO DISMISS BACKGRID
 Case 2:20-cv-06298-JWH-E Document 116 Filed 04/21/21 Page 3 of 18 Page ID #:2837



                                                  TABLE OF CONTENTS
1
     TABLE OF AUTHORITIES ........................................................................................... iii
2
     I. INTRODUCTORY STATEMENT ............................................................................... 1
3
     II. ARGUMENT .............................................................................................................. 2
4
         A. Backgrid’s Pleadings Do Not Allege How Paper Magazine Infringed .................... 2
5
         B. Backgrid Fails to Allege Ownership or Attach Registration Certificates ................. 4
6
         C. Backgrid’s Deficient Claims for Certain Images ..................................................... 6
7
             1. Backgrid Fails to Allege Ownership of the Rihanna in Red Walking Image ....... 6
8
             2. Backgrid Fails to Allege Ownership of the Rihanna and Queen Elizabeth
9            Meme Image and its Claim is Time Barred ............................................................ 7
10           3. Backgrid Fails to Allege Ownership or Infringement of the Rihanna in Red
             Image ..................................................................................................................... 7
11
             4. Backgrid Fails to Allege Ownership or Infringement of the Elsa Hosk and
12           Martha Hunt Image ................................................................................................ 8
13           5. Backgrid Fails to Allege Infringement of the Pete Davidson and Kate
             Beckinsale Image ................................................................................................... 9
14
             6. Backgrid is Time Barred from Statutory Damages and Attorney Fees Related
15           to the Image of Leonardo DiCaprio Catching a Ball ............................................. 10
16           7. Backgrid is Time Barred from Statutory Damages and Attorney Fees Related
             to the Image of Leonardo DiCaprio Kicking a Ball .............................................. 11
17
         D. Backgrid’s Fourth Claim for Declaratory Relief Should Be Dismissed ................ 11
18
         E. Backgrid’s Fifth Claim for Misrepresentation Should Be Dismissed .................... 12
19
     III. CONCLUSION ........................................................................................................ 12
20
     CERTIFICATE OF SERVICE ....................................................................................... 13
21
22
23
24
25
26
27
28
                                                              ii
                                              PTF’S MOTION TO DISMISS BACKGRID
 Case 2:20-cv-06298-JWH-E Document 116 Filed 04/21/21 Page 4 of 18 Page ID #:2838




 1                                             TABLE OF AUTHORITIES
 2 Cases
 3 Aqua Creations USA Inc. v. Hilton Hotels Corp., 2011 WL 1239793 (S.D.N.Y. Mar.
     28, 2011)....................................................................................................................... 4
 4
 5 Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) ....................................................... 3
 6 BWP Media USA Inc. v. Rich Kids Clothing Co., LLC, No. C13-1975-MAT, 2015
 7 U.S. Dist. LEXIS 8034 (W.D. Wash. Jan. 23, 2015) ..................................................... 4
 8 Cf. Nat’l Bus. Dev. Servs., Inc. v. Am. Credit Educ. & Consulting, Inc., 299 F. App’x
 9 509 (6th Cir. 2008)........................................................................................................ 3
10 Cutler v. Enzymes, Inc., 2009 WL 482291 (N.D. Cal. 2009) ............................................ 3
11
   Hosp. Mktg. Concepts, LLC v. Six Continents Hotels, Inc., No. SACV-15-01791-
12 JVS-(DFMx), 2016 WL 9045621 (C.D. Cal. Jan. 28, 2016) ....................................... 11
13
   In re Napster, Inc. Copyright Litigation, 191 F. Supp. 2d 1087 (N.D. Cal. 2002)......... 5, 6
14
15 Jim Marshall Photography, LLC v. John Varvatos of California, 2013 WL 3339048
     (N.D. Cal., June 28, 2013, No. C-11-06702 DMR) ....................................................... 6
16
17 Ledesma v. Corral, 2016 WL 827743 (C.D. Cal. 2016) ................................................... 3
18
  Loree Rodkin Mgmt. Corp. v. Ross-Simons, Inc., 315 F. Supp. 2d 1053 (C.D. Cal.
19 2004) ............................................................................................................................ 5
20
     Miller v. Facebook, Inc., 2010 WL 1292708 (N.D. Cal. 2010) ..................................... 2, 3
21
     MiTek Holdings, Inc. v. Arce Eng’g Co., 89 F.3d 1548 (11th Cir. 1996) .......................... 4
22
23 Motta v. Samuel Weiser, Inc., 768 F.2d 481 (1st Cir. 1985) .............................................. 6
24
  Reid v. Am. Soc’y of Composers, Authors & Publishers, 1994 WL 3409 (S.D.N.Y.
25 1994) ............................................................................................................................ 3
26
     Silvers v. Sony Pictures Entm’t, 402 F.3d 881 (9th Cir. 2005) .......................................... 4
27
28
                                                              iii
                                              PTF’S MOTION TO DISMISS BACKGRID
 Case 2:20-cv-06298-JWH-E Document 116 Filed 04/21/21 Page 5 of 18 Page ID #:2839




1
 Stavrinides v. Vin Di Bona, No. 2-18-CV-00314-CAS-(JPRx), 2018 WL 1311440
2 (C.D. Cal. Mar. 12, 2018) ........................................................................................... 11
3
     Sybersound Records, Inc. v. UAV Corp., 517 F.3d 1137 (9th Cir. 2008) .......................... 4
4
5 Universal Surface Tech., Inc. v. Sae-A Trading Am. Corp., 2011 WL 281020 (C.D.
   Cal. 2011) ..................................................................................................................... 2
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                                             PTF’S MOTION TO DISMISS BACKGRID
 Case 2:20-cv-06298-JWH-E Document 116 Filed 04/21/21 Page 6 of 18 Page ID #:2840




 1                        I.    INTRODUCTORY STATEMENT
 2       The Counterclaims should be dismissed because it alleges only conclusory
 3 allegations that Paper Magazine infringed Backgrid’s copyrights. Backgrid provides no
 4 substance to support its claims for infringement. The Counterclaims fail to allege even in
 5 basic terms (1) how their rights were acquired, (2) when and where any specific
 6 copyright was allegedly infringed on any particular platform operated by Paper Magazine
 7 or (3) what manner each specific copyright was infringed.
 8       These deficiencies are best illustrated by the following screenshot, attached to the
 9 Counterclaims, depicting Queen Elizabeth adorned with a superimposed heart dress
10 popularized by the singer Rihanna. The screenshot is the only reference to Backgrid’s
11 claim of infringement, however Backgrid does not allege ownership of this image
12 anywhere in its Counterclaims.
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28 (Dkt. 96-5 Ex. B-1 at 20.)
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                                PTF’S MOTION TO DISMISS BACKGRID
 Case 2:20-cv-06298-JWH-E Document 116 Filed 04/21/21 Page 7 of 18 Page ID #:2841




 1        Despite this being the fifth iteration of their claims, Backgrid repeats these
 2 shortcomings throughout its Counterclaims, making them practically undecipherable.
 3 The Counterclaims amount to a hodgepodge of compilation copyright registrations
 4 combined with a splattering of images that don’t bear any clear connection. Nine months
 5 after first asserting their claims, Backgrid should have the ability to allege what
 6 copyrights they owned and how these copyrights were infringed. Backgrid’s failure to do
 7 so after five attempts is fatal to its claims.
 8        In this regard, a close examination of Backgrid’s claims reveals that no effort was
 9 undertaken to state a viable claim for copyright infringement. Backgrid instead bases its
10 claims on conclusory statements unconnected to the material attached to their pleading,
11 as detailed herein. For these reasons, Backgrid’s claims should be dismissed.
12                                      II.    ARGUMENT
13        A.     Backgrid’s Pleadings Do Not Allege How Paper Magazine Infringed.
14        Backgrid’s claim that ENTTech should be held liable for directly infringing
15 Backgrid’s copyrights fails because Backgrid has not alleged what infringing acts
16 ENTTech allegedly committed.
17        To state a claim for copyright infringement, a plaintiff must allege how the
18 defendant infringed the copyright, i.e., must identify the defendant’s acts that are alleged
19 to be infringing, rather than merely reciting the elements of an infringement claim. See
20 Universal Surface Tech., Inc. v. Sae-A Trading Am. Corp., 2011 WL 281020, at *6 (C.D.
21 Cal. 2011) (“plaintiff’s complaint does not state a claim for relief” because it “alleges no
22 facts indicating what acts constitute the alleged infringement” and contains merely
23 “labels and conclusions, and a formulaic recitation of the elements of a cause of action”)
24 (internal quotation marks omitted). Simply saying that a copyright was infringed is
25 insufficient to state a valid claim for relief.
26        For example, in Miller v. Facebook, Inc., 2010 WL 1292708, at *3 (N.D. Cal.
27 2010), the court dismissed a direct infringement claim where the complaint merely
28 alleged that Facebook had “reproduced and distributed” an infringing work by, among
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                                  PTF’S MOTION TO DISMISS BACKGRID
 Case 2:20-cv-06298-JWH-E Document 116 Filed 04/21/21 Page 8 of 18 Page ID #:2842




 1 other things, publishing the work in Facebook’s application directory and allowing
 2 Facebook users to “search and view” the application. Id. at *2−3. Absent, in the court’s
 3 view, were “sufficient factual allegations to suggest how defendant Facebook copied,
 4 displayed or distributed infringing copies.” Id. at *3 (emphasis added); see also Id. (“If
 5 plaintiff wishes to proceed with his direct copyright infringement claim, he must include
 6 sufficient factual allegations that explain how defendant Facebook copied, displayed or
 7 distributed infringing copies of [a copyrighted work]. Mere legal conclusions disguised as
 8 factual allegations will not suffice.”) (citing Bell Atlantic Corp. v. Twombly, 550 U.S. at
 9 555).
10         Similarly, in Cutler v. Enzymes, Inc., 2009 WL 482291, at *3 (N.D. Cal. 2009), the
11 court dismissed a complaint for copyright infringement where it was devoid of “specific
12 facts” relating to “what acts during what period of time” amounted to copyright
13 infringement. Cf. Nat’l Bus. Dev. Servs., Inc. v. Am. Credit Educ. & Consulting, Inc., 299
14 F. App’x 509, 511–12 (6th Cir. 2008) (unpublished) (affirming dismissal of copyright
15 infringement allegations where plaintiffs failed to allege “a description of the manner in
16 which Defendants’ works infringe upon Plaintiff’s work”) (internal quotation marks
17 omitted); Ledesma v. Corral, 2016 WL 827743, at *3 (C.D. Cal. 2016) (“Plaintiffs’
18 factual allegations are not specific enough to raise a right to relief above more than just a
19 speculative level” because “[n]o facts to support the unauthorized use of these
20 copyrighted materials are presented to the Court”); Reid v. Am. Soc’y of Composers,
21 Authors & Publishers, 1994 WL 3409, at *1−2 (S.D.N.Y. 1994) (granting motion to
22 dismiss where plaintiff failed to allege the acts by which the defendant infringed the
23 copyright).
24         Here, Backgrid’s allegations are similarly deficient, as they fail to provide any
25 supporting facts as to how ENTTech purportedly infringed its copyrights or the dates of
26 the purported infringements. Backgrid merely attaches unverified website printouts that
27 often include multiple photographs. Backgrid does not provide further information, such
28 as connecting the printouts to any of the copyright registrations or to ENTTech, so it is
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                                 PTF’S MOTION TO DISMISS BACKGRID
 Case 2:20-cv-06298-JWH-E Document 116 Filed 04/21/21 Page 9 of 18 Page ID #:2843




 1 impossible for ENTTech to know how any alleged copyright was purportedly infringed.
 2 ENTTech cannot be forced to guess as to how copyright registration might be connected
 3 to an alleged infringement. See BWP Media USA Inc. v. Rich Kids Clothing Co., LLC,
 4 No. C13-1975-MAT, 2015 U.S. Dist. LEXIS 8034 (W.D. Wash. Jan. 23, 2015)(webpage
 5 capture reveals no discernible images and does not therefore allow defendant to make any
 6 meaningful evaluation of plaintiff’s copyright infringement claim.)
 7        In sum, because Backgrid failed to allege both specific infringed works and
 8 specific infringing acts, its infringement claim should be dismissed.
 9        B.     Backgrid Fails to Allege Ownership or Attach Registration Certificates.
10        Backgrid’s claim that ENTTech should be held liable for directly infringing
11 Backgrid’s copyrights fails because Backgrid has not alleged exactly what copyrighted
12 works were infringed.
13        To state a claim for copyright infringement, allegations of copyright ownership
14 must be sufficiently pled. See MiTek Holdings, Inc. v. Arce Eng’g Co., 89 F.3d 1548,
15 1555 (11th Cir. 1996) (“Perhaps the best approach for a district court in any computer
16 program infringement case, whether involving literal or nonliteral elements, is for it to
17 require the copyright owner to inform the court as to what aspects or elements of its
18 computer program it considers to be protectable”); Aqua Creations USA Inc. v. Hilton
19 Hotels Corp., 2011 WL 1239793, at *7 (S.D.N.Y. Mar. 28, 2011) (dismissal is
20 appropriate where the plaintiff “has failed to plead facts demonstrating that [the allegedly
21 copied elements] are entitled to copyright protection”); Sybersound Records, Inc. v. UAV
22 Corp., 517 F.3d 1137, 1144 (9th Cir. 2008) (“Under copyright law, only copyright
23 owners and exclusive licensees of copyright may enforce a copyright or a license.”);
24 Silvers v. Sony Pictures Entm’t, 402 F.3d 881, 885 (9th Cir. 2005) (“in order for a
25 plaintiff to be entitled . . . to institute an action for infringement, the infringement must be
26 committed while he or she is the owner of the particular exclusive right allegedly
27 infringed.”) (citation and quotation marks omitted).
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                                  PTF’S MOTION TO DISMISS BACKGRID
Case 2:20-cv-06298-JWH-E Document 116 Filed 04/21/21 Page 10 of 18 Page ID #:2844




 1        Backgrid does not attach the U.S. Copyright Office certificates of registration to
 2 the Amended Counterclaims for any of the images of which it alleges copyright
 3 infringement claims. Nor does Backgrid allege that certificates for each specific image
 4 have been issued. Instead, Backgrid makes a conclusory statement that all images were
 5 registered, and attaches as exhibits “screen shots” or “screen -grabs” of the U.S.
 6 Copyright Office’s website’s online database as the only proof that the images were each
 7 allegedly properly and timely registered copyrights. Backgrid lacks standing if the
 8 certificates have not yet been issued. Loree Rodkin Mgmt. Corp. v. Ross-Simons, Inc.,
 9 315 F. Supp. 2d 1053, 1054 (C.D. Cal. 2004) (“Because the Court agrees with the second
10 set of cases that the plain language of the Copyright Act unambiguously mandates the
11 actual issuance of a registration certificate before a copyright action is brought, the Court
12 grants Defendant's motion to dismiss, without prejudice.”)
13        Due to the vague and oftentimes contradictory allegations in the operative
14 complaint, Backgrid fails to allege in any clear way what images (if any) it owns.
15 Backgrid alleges that it owns “at least 19 timely registered photographs” cited in its
16 Counterclaim. (Dkt. 96 at ¶ 9.) In fact, there are only eleven (11) copyright registrations
17 attached as exhibits to Backgrid’s Counterclaim, most of which are for compilations of
18 photographs. (Dkt. 96-1 (Exhibit A-1).
19        The Counterclaims further allege that “Backgrid, or the previous owner of the
20 works that later assigned all rights, title and interest to those works to Backgrid filed for
21 copyright registrations.” (Dkt. 96 at ¶ 23)(emphasis added.) This vague allegation does
22 not explain which images were registered by Backgrid, and which images were registered
23 by a “previous owner.” However, Backgrid is required to provide this information. In re
24 Napster, Inc. Copyright Litigation, 191 F. Supp. 2d 1087, 1101 (N.D. Cal. 2002) (“A
25 party that obtains ownership through assignment of a previously-registered copyright
26 bears the burden of proving his or her chain of title.”)
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                                 PTF’S MOTION TO DISMISS BACKGRID
Case 2:20-cv-06298-JWH-E Document 116 Filed 04/21/21 Page 11 of 18 Page ID #:2845




 1        C.          Backgrid’s Deficient Claims for Certain Images.
 2        While Backgrid’s Counterclaims are defective as a whole, as described above, the
 3 deficiencies are particularly evident with regard to the Images of Queen Elizabeth and
 4 Rihanna, Rihanna in red, Elsa Hosk and Martha Hunt, Pete Davidson and Kate
 5 Beckinsale, Leonardo DiCaprio catching a ball, and Leonardo DiCaprio kicking a ball.
 6 Described below, each of these images suffers from defective allegations of ownership
 7 and/or infringement. Accordingly, the claims related to these images must be dismissed.
 8        1. Backgrid Fails to Allege Ownership of the Rihanna in Red Walking Image.
 9        Backgrid alleges copyright infringement of an image of Rihanna in red walking.
10 (Dkt. 96-5, Ex. B-1 at 21.) Backgrid alleges that it is the owner of all rights, title and
11 interest in the image. (Dkt. 96 ¶ 22.) However, the copyright registration screenshot
12 attached to Exhibit A-1 of Backgrid’s Counterclaim states that this image is owned by
13 AKM-GSI Media, Inc., not Backgrid. (Dkt. 96-1, Ex. A-1 at 6.) This image also shows a
14 copyright credit to AKM-GSI on the bottom of the image itself. (Dkt. 96-5, Ex. B-1 at
15 21.) This image has a registration number of VA0002050264 (titled Rihanna has her
16 heart on her sleeve) using the internal control of AG_129017, which stands for “AKM-
17 GSI,” a different company entirely than Counterclaimant.
18        Backgrid does not explain how it came to own this image. However, Backgrid is
19 required to provide this information. In re Napster, Inc. Copyright Litigation, 191 F.
20 Supp. 2d 1087, 1101 (N.D. Cal. 2002)(“A party that obtains ownership through
21 assignment of a previously-registered copyright bears the burden of proving his or her
22 chain of title.”) Copyright interests cannot “be assumed based on the existence of
23 copyright registrations in the names of third parties.” Jim Marshall Photography, LLC v.
24 John Varvatos of California, 2013 WL 3339048, at *8 (N.D. Cal., June 28, 2013, No. C-
25 11-06702 DMR) (plaintiff “must establish a proprietary right through the chain of title in
26 order to support a valid claim to the copyright.”) (citing Motta v. Samuel Weiser, Inc.,
27 768 F.2d 481, 483 (1st Cir. 1985).
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                                PTF’S MOTION TO DISMISS BACKGRID
Case 2:20-cv-06298-JWH-E Document 116 Filed 04/21/21 Page 12 of 18 Page ID #:2846




1          2. Backgrid Fails to Allege Ownership of the Rihanna and Queen Elizabeth
2             Meme Image and its Claim is Time Barred.
3          Backgrid alleges copyright infringement of an image featuring Queen Elizabeth’s
4 head on Rihanna body’s in a side-by-side image of two photos, as seen below:
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     (Dkt. 96-5 Ex. B-1 at 20.) Backgrid fails to identify which photo is owned by Backgrid.
19
     Backgrid also does not provide evidence of its ownership of either photograph.
20
           Backgrid also fails to identify when it discovered any purported infringement. The
21
     screen shot is dated April 24, 2017, which is more than three years before the claim was
22
     filed in July 2020. As such, the claim appears to be time barred. See 17 U.S.C. § 507(b)
23
     (Copyright claims must be brought within three years after the claim accrues).
24
           3. Backgrid Fails to Allege Ownership or Infringement of the Rihanna in Red
25
              Image.
26
           Backgrid alleges copyright infringement of an image of Rihanna in red. (Dkt. 96-5,
27
     Ex. B-1 at 22.) The copyright registration screenshot of the Rihanna photograph is
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                                 PTF’S MOTION TO DISMISS BACKGRID
Case 2:20-cv-06298-JWH-E Document 116 Filed 04/21/21 Page 13 of 18 Page ID #:2847




 1 attached to Exhibit A-1 of Backgrid’s Counterclaim. The screenshot of the copyright
 2 registration for this image states that this image is owned by AKM-GSI Media, Inc., not
 3 Backgrid. (Dkt. 96-1, Ex. A-1 at 6.) Backgrid does not reveal how it acquired this image.
 4        Backgrid’s amended counterclaims also do not identify the location of ENTTech’s
 5 alleged infringement of the Rihanna in red image (e.g., social media or website). The
 6 exhibit related to this image is merely a copy of a photograph of Rihanna, with no other
 7 identifying evidence that links the photo to ENTTech. (Dkt. 96-5, Ex. B-1 at 22.)
 8 Backgrid also fails to identify the dates ENTTech’s alleged publication of the image or
 9 Backgrid’s discovery of any alleged infringement. As such, Backgrid cannot establish
10 that the counterclaim was timely filed or that the copyright registration was timely.
11        4. Backgrid Fails to Allege Ownership or Infringement of the Elsa Hosk and
12           Martha Hunt Image.
13        Backgrid alleges copyright infringement of two side-by-side photos of Elsa Hosk
14 and Martha Hunt in swimsuits, as shown below:
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26 (Dkt. 96-5, Ex. B-1 at 4.)
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                                 PTF’S MOTION TO DISMISS BACKGRID
Case 2:20-cv-06298-JWH-E Document 116 Filed 04/21/21 Page 14 of 18 Page ID #:2848




 1        Backgrid alleges that it is the owner of all rights, title and interest in the image,
 2 however, the image is a combination of two photographs, each of which would hold a
 3 separate copyright, however, Backgrid does not identify which photograph it owns, or if
 4 it owns both. (Dkt. 96 ¶ 22.)
 5        Backgrid’s exhibit also does not establish that ENTTech published this image.
 6 (See Dkt. 96.) Specifically, Backgrid does not identify the location of ENTTech’s alleged
 7 infringement of the image (e.g., social media or website), or any proof that ENTTech
 8 actually published the image. (Dkt. 96-5, Ex. B-1 at 4.) Indeed, the exhibit to the
 9 Counterclaim is merely a photograph, with no other identifying evidence. (Dkt. 96-5, Ex.
10 B-1 at 4.) Notably, the image shows an Instagram account handle of an unrelated third
11 party, @s0cialmediavsreality, printed on the image itself. Backgrid fails to identify the
12 date of ENTTech’s alleged publication of the image, or the date of Backgrid’s discovery
13 of the alleged infringement. (See Dkt. 96.) As such, Backgrid cannot establish that the
14 alleged infringement claim is timely filed or that the image was timely registered.
15        5. Backgrid Fails to Allege Infringement of the Pete Davidson and Kate
16           Beckinsale Image.
17        Backgrid alleges copyright infringement of a photo of Pete Davidson and Kate
18 Beckinsale as shown below:
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                                   PTF’S MOTION TO DISMISS BACKGRID
Case 2:20-cv-06298-JWH-E Document 116 Filed 04/21/21 Page 15 of 18 Page ID #:2849




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     (Dkt. 96-5, Ex. B-1, p. 5-6.)
12
           Backgrid does not identify the location of ENTTech’s alleged infringement of this
13
     image. (Dkt. 96-5, Ex. B-1, p. 5-6.) Further, Backgrid does not provide any proof that
14
     ENTTech actually published this image. Id. Indeed, Backgrid’s Counterclaim only
15
     provides a mere screenshot of the photograph itself, and not of the alleged publication,
16
     with no other identifying evidence linking it to ENTTech. Id.
17
           Backgrid also fails to identify the date of ENTTech’s alleged publication of the
18
     image. (Dkt. 96.) Further, Backgrid fails to identify the date of its discovery of an
19
     alleged infringement of this image. Id. Without the dates of this image’s publication or of
20
     Backgrid’s discovery of the alleged infringement, there is no evidence that the
21
     counterclaim is timely filed, or that the copyright registration was timely filed.
22
           6. Backgrid is Time Barred from Statutory Damages and Attorney Fees
23
               Related to the Image of Leonardo DiCaprio Catching a Ball.
24
           Backgrid alleges copyright infringement of a photo of Leonardo DiCaprio catching
25
     a ball (Dkt. 96-5, Ex. B-1 at 10).
26
           Backgrid alleges in its Counterclaims that it filed for copyright registration of the
27
     image within ninety (90) days of their first publication. (Dkt. 96 ¶¶ 10, 23.) This is
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                                                    10
                                     PTF’S MOTION TO DISMISS BACKGRID
Case 2:20-cv-06298-JWH-E Document 116 Filed 04/21/21 Page 16 of 18 Page ID #:2850




 1 contradicted by Backgrid’s own exhibits. According to the image’s copyright registration
 2 screenshot attached to Exhibit A-1 of Backgrid’s Counterclaim, the first publication was
 3 on June 25, 2019, and the registration with the U.S. Copyright Office was on January 28,
 4 2020, which is 217 days after its first publication. (Dkt 96-1, Ex. A-1 at 10.) As such,
 5 Backgrid cannot seek attorney fees and statutory damages for this image. See 17 U.S.C.
 6 §§ 410(c), 412, 504, and 505.
         7. Backgrid is Time Barred from Statutory Damages and Attorney Fees
 7
 8          Related to the Image of Leonardo DiCaprio Kicking a Ball.
          Backgrid also alleges a copyright infringement claim for an image of Leonardo
 9
10 DiCaprio kicking a ball. (Dkt. 96-5, Ex. B-1 at 11.) Similar to the Leonardo DiCaprio
11 catching a ball image, Backgrid alleges in its Counterclaims that it filed for copyright
12 registration of the image of Leonardo DiCaprio kicking a ball within ninety (90) days of
13 their first publication. (Dkt. 96 ¶¶ 10, 23.) This is contradicted by Backgrid’s own
14 exhibits. According to this image’s copyright registration screenshot attached to Exhibit
15 A-1 of Backgrid’s Counterclaim, the image’s first publication was on June 25, 2019, and
16 was registered with the U.S. Copyright Office on January 28, 2020, which is 217 days
17 after its first publication. (Dkt 96-1, Ex. A-1 at 10.) As such, Backgrid cannot seek
18 attorney fees and statutory damages for this image.
19        D.    Backgrid’s Fourth Claim for Declaratory Relief Should be Dismissed.
20        Backgrid’s claim for declaratory relief should be dismissed because it seeks the
21 same relief as its claim for copyright infringement. Stavrinides v. Vin Di Bona, No. 2-18-
22 CV-00314-CAS-(JPRx), 2018 WL 1311440, at *6 (C.D. Cal. Mar. 12, 2018) (dismissing
23 a claim for declaratory relief “[b]ecause these rights [in the declaratory relief claim]
24 would necessarily be determined through the adjudication of plaintiffs’ copyright
25 infringement claim, [so] declaratory relief is duplicative and unnecessary.”); Hosp. Mktg.
26 Concepts, LLC v. Six Continents Hotels, Inc., No. SACV-15-01791-JVS-(DFMx), 2016
27 WL 9045621, at *8 (C.D. Cal. Jan. 28, 2016) (“When the issues invoked in a request for
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                                PTF’S MOTION TO DISMISS BACKGRID
Case 2:20-cv-06298-JWH-E Document 116 Filed 04/21/21 Page 17 of 18 Page ID #:2851




 1 declaratory relief already were fully engaged by other causes of action ... then declaratory
 2 relief is unnecessary and superfluous and must be dismissed.”) (citation and internal
 3 quotation marks omitted).
 4        E.     Backgrid’s Fifth Claim for Misrepresentation Should be Dismissed.
 5        Backgrid’s    fifth   claim    alleges    “misrepresentation”      regarding   DMCA
 6 counternotifications, however Backgrid does not explain the who, what, where, and when
 7 of any misrepresentation, and otherwise fails to plead “particularized allegations of the
 8 circumstances constituting fraud.” In re GlenFed, Inc. Sec. Litig.,, 42 F.3d at 1548 42
 9 F.3d 1541 (9th Cir. 1994); see also Blake v. Dierdorff, 856 F.2d 1365, 1369 (9th Cir.
10 1988) (plaintiffs must allege statements and “the reasons for their falsity”).
11        Backgrid does not detail any specific misrepresentation in its operative Complaint
12 whatsoever, citing only to “Exhibit C” containing DMCA Notifications, and counter-
13 notifications.    Nowhere is it explained why any specific counter-notification is a
14 misrepresentation. Backgrid has failed to state a claim under any standard and despite
15 numerous opportunities. The Court should dismiss the misrepresentation claim with
16 prejudice.
17                                    III.   CONCLUSION
18        For the foregoing reasons, Backgrid’s Counterclaims should be dismissed without
19 leave to amend.
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22 DATED: April 21, 2021                     TAULER SMITH LLP
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24                                                 By:   /s/ Robert Tauler
                                                         Robert Tauler
25
                                                   Attorneys for Plaintiff
26                                                 ENTTech Media Group LLC
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                                                12
                                 PTF’S MOTION TO DISMISS BACKGRID
Case 2:20-cv-06298-JWH-E Document 116 Filed 04/21/21 Page 18 of 18 Page ID #:2852




1                             CERTIFICATE OF SERVICE
2       I hereby certify that on April 21, 2021, copies of the foregoing document were
3 served by the Court’s CM/ECF system to all counsel of record in this action.
4
5 DATED: April 21, 2021                 TAULER SMITH LLP
6
7                                              By:   /s/ Robert Tauler
                                                     Robert Tauler
8
                                               Attorneys for Plaintiff
9                                              ENTTech Media Group LLC
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